Case 16-40246-KKS Doc 139 Filed 11/09/18 Page 1 of 8

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
www.flnb.uscourt.gov
In re: Case No.: 16-40246-KKS
Julius Williams II and Wenoka Tenea Chapter 7
Simmons-Williams,
Debtors.
/

 

NOTICE OF OPPORTUNITY TO
OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within twenty-one (21)
days from the date set forth on the proof of service plus an additional three days for service if any
party was served by U.S. Mail, or such other period as may be specified in Fed. R. Bankr. P. 9006(f).

If you object to the relief requested in this paper, you must file an objection or response
electronically with the Clerk of the Court or by mail at l 10 E. Park Avenue, Suite 100, Tallahassee,
FL 32301, and serve a copy on the movant’s attorney, Heckman Law Group, P.L., at P.O. Box
12492, Tallahassee, FL 32317-2492, and any other appropriate person within the time allowed. If
you file and serve a response within the time permitted, the Court will either schedule and notify you
of a hearing or consider the response and grant or deny the relief requested without a hearing.

If you file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested

MOTION FOR RELIEF FROM THE AUTOMATIC STAY
SANTANDER CONSUMER U.S.A., INC. ("Creditor"), moves this Court for the entry of an Order
Lifting and/or Modifying the Automatic Stay and all express injunctions, if any, and in support
thereof shows as follows:

l. This is a contested matter and this Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1334, as referred under 28 U.S.C. § 157, and this matter is a "core proceeding" within

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the meaning of28 U.S.C. § 157.

2. Creditor is precluded by the force and effect of paragraph (4) and (5) of § 362(a) of the
Bankruptcy Code from enforcing Creditor's lien against personal property of the estate and the
Debtors.

3. The amount owed to Creditor is secured by a lien on a 2014 Kia Forte VIN:
KNAFZ6A39E5195843 ("the collateral").

4. As outlined on the affidavit of Creditor attached as "Exhibit One" the total balance
of the loan was $11,564.93 as of the date of Creditor's affidavit

5. As stated in "EXhibit One", the Debtors are in default on the loan by failing to make
the $509.18 payment that was due on January 22, 2018. Also, proof of insurance has not been
verified by Creditor as stated in Creditor's affidavit and Creditor requests proof of the same be filed
with any response to this motion.

6. Creditor obtained and perfected its security interest on the certificate of title to the
collateral as shown by the loan documents and certificate of title attached as "Exhibit Two".

7. Creditor lacks adequate protection because the Debtors are not making payments
Therefore, sufficient cause exists to lift the automatic stay as to the collateral.

8. The Debtors have no equity in the collateral and it is not necessary for an effective
reorganization of the Debtors' affairs. The collateral is worth $l l,675 .00 according to the N.A.D.A.

guide attached as "Exhibit Three". The amount owed to Creditor is $l l,564.93.

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WHEREFORE, Creditor requests this Court to enter an Order Lifting the Automatic Stay
to allow Creditor to enforce its security interest and in rem remedies as to the collateral.
Heckman Law Group, P.L.

By: /s/ Chad D. Heckman

Florida Bar No.: 0526029

Attomey for Creditor

P.O. Box 12492

Tallahassee, Florida 32317-2492

Phone: (850) 583-4161

E-Service: eservice@heckmanlawgroup.com
HLG File No.: 18-609

CERTIFICATE OF SERVICE

I CERTIFY that a copy of the foregoing pleading was furnished to the addresses below
by U.S. Mail and/or electronic means via the CM/ECF system on November 13, 2018 to:

Mary Colon, P.O. Box 14596, Tallahassee, FL 32317
Trustee (usual place of business)

Allen P. Turnage, P.O. BoX 15219, Tallahassee, FL 32317-5219
Attorneyfor Debtors (usual place of business)

Julius Williams ll and Wenoka Tenea Simmons-Williarns, P.O. BoX 339, Crawfordville, FL 32326
Debtors (usual place of abode)

Heckman Law Group, P.L.

By: /s/ Chad D. Heckman

Florida Bar No.: 0526029

Attorney for Creditor

P.O. Box 12492

Tallahassee, Florida 32317-2492

Phone: (850) 583-4161

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HLG File No.: 18-609

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UNl'l`ED STATES BA.NKRUP'!`CY COURT
NOR'I`i-lERN DISTRICT Ol" l"l,ORll)/\

in re: Chapter 7

julius Williams, ll and Wenoka Tcnea Bky. No. 161-40246
Simmons~Williams,

Debtor(s)
STATE mr TEXAS )
) ss.
COUNTY OF TARRAN'E` ) AP‘F`IUAVW

l, Gary Esparza ‘ a bankruptcy specialist of Santander Consume.r USA linc.. declare under penalty
of perjury that l have personal knowledge of the information set forth belowi which is true and correct to
the best ot` my knowledge informationq and belief

l. T his affidavit is based on the loan payment records ot`Santander C‘onsumer USA lnc. as of
November I, 2018. Thcsc records are regularly maintained in the course of business and it is the regular
practice to make and maintain these rccords. Thcse records reflect the loan payments that arc noted in the
records at the time of receipt by persons whose regular duties include recording this information l
maintain these records and regularly use and reiy upon them in the performance of my duties.

2. Santandcr Consumcr USA lnc. has a valid, perfected security interest in the following (the
"Collatcral”): 20l4 Kizi Forte, VIN: KNAF26A3955l95843.

3. $l l,564.93 is the outstanding balance under the contract.

4. $5,220.!2 is thc amount ol` the existing delinquency under the contract
5. $i l,675.00 is the fair market value ol`thc Collateral.

6. No appropriate insurance has been verified

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Case 16-40246-KKS DOC 139 Filed 11/09/18 Page 8 of 8
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